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                                      ATTACHMENT A

119 23rd STREET SE, ROANOKE, VIRGINIA described as a residential property located along
23rd Street, and consists of a multi-story house. 119 is depicted on the column leading to the
entry of the residence. The residence is primarily brick and contains 4 bedrooms and 2
bathrooms. The main point of entry of the residence is a glass storm door and light colored door
located on the front of the residence.
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                                       ATTACHMENT B

The items to be seized include the following items:

       With respect to violations of Title 21, United States Code, Sections 841(a)(1) and
846(a)(1), and Title 21, United States Code, Section 843(a)(3):

       1.      any evidence of a crime;
       2.      contraband, fruits of crime, and items illegally possessed; and
       3.      property designed for use, intended for use, and used in committing a crime.

       These items include, but are not limited to, the following items:

            Records, documents, and materials present on or within 119 23rd Street SE, Roanoke,
    Virginia, as described in Attachment A, including in locked containers, in whatever form
    they are maintained, including handwritten and computer generated, and controlled
    substances, including, but not limited to, the following items:

       1.      Any and all records regarding the acquisition, prescribing, dispensing and
               inventory of controlled substances, including appointment books; sign-in sheets;
               patient lists, patient files and notes; patient referrals or other treatment records;
               video recordings of patient interviews or visits; prescriptions; dispensing logs;
               order forms; receipts; theft and loss reports; shipping records; packing slips;
               accounting ledgers; logs; patient payment records or receipts; receipts relating to
               the sale of controlled substances; the treatment history and payments of patients;

       2.      Any and all controlled substances that are not lawfully prescribed to DAVIS or
               any other occupants of DAVIS’ residence.

       3.      Computers and storage media, as those terms are defined in the Affidavit and
               below.

       4.      For any computer or storage medium whose seizure is otherwise authorized by
               this warrant, and any computer or storage medium that contains or in which is
               stored records or information that is otherwise called for by this warrant
               (hereinafter, “COMPUTER”):

               a.   evidence of who used, owned, or controlled the COMPUTER at the time the
                    things described in this warrant were created, edited, or deleted, such as logs,
                    registry entries, configuration files, saved usernames and passwords,
                    documents, browsing history, user profiles, email, email contacts, “chat,”
                    instant messaging logs, photographs, and correspondence;
               b.   evidence of the attachment to the COMPUTER of other storage devices or
                    similar containers for electronic evidence;
               c.   evidence of counter-forensic programs (and associated data) that are designed
                    to eliminate data from the COMPUTER;
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          d.   evidence of the times the COMPUTER was used;
          e.   passwords, encryption keys, and other access devices that may be necessary
               to access the COMPUTER;
          f.   documentation and manuals that may be necessary to access the
               COMPUTER or to conduct a forensic examination of the COMPUTER;
          g.   records of or information about Internet Protocol addresses used by the
               COMPUTER;
          h.   records of or information about the COMPUTER’s Internet activity,
               including firewall logs, caches, browser history and cookies, “bookmarked”
               or “favorite” web pages, search terms that the user entered into any Internet
               search engine, and records of user-typed web addresses;
          i.   contextual information necessary to understand the evidence described in this
               attachment;
          j.   any and all text messages, picture messages, application messages, and any
               other records reflecting the criminal conduct described in the Affidavit.

    5.    As used above, the terms “records” and “information” includes all forms of
          creation or storage, including any form of computer or electronic storage (such as
          hard disks or other media that can store data); any handmade form (such as
          writing); any mechanical form (such as printing or typing); and any photographic
          form (such as microfilm, microfiche, prints, slides, negatives, videotapes, motion
          pictures, or photocopies).

    6.    The term “computer” includes all types of electronic, magnetic, optical,
          electrochemical, or other high speed data processing devices performing logical,
          arithmetic, or storage functions, including desktop computers, notebook
          computers, mobile and cellular phones, tablets, servers, computers, and network
          hardware, and all software stored or accessed by such devices.

    7.    The term “storage medium” includes any physical object upon which computer
          data can be recorded. Examples included hard disks, RAM, floppy disks, flash
          memory, CD-ROMs, and other magnetic or optical media.

          The government is specifically authorized to seize all computers and storage
          media located on the premises described in Attachment A. The government is
          further authorized to search such seized computers and storage media, both on-
          site and off-site by whatever means available to it, for the items sought in this
          warrant.

     8.    With respect to law enforcement’s review of the computers or devices seized
           pursuant to this warrant, law enforcement (i.e., the federal agents and prosecutors
           working on this investigation and prosecution), along with other government
           officials and contractors whom law enforcement deems necessary to assist in the
           review of the computers or devices (collectively, the “Review Team”) are hereby
           authorized to review, in the first instance, the computers or devices and the
           information and materials contained in them, as set forth in this Attachment B. If
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           law enforcement determines that all, some, or a portion of the information or
           materials on the computers or devices contain or may contain information or
           material subject to a claim of attorney-client privilege or work-product protection
           (the “Potentially Privileged Materials”), the Review Team is hereby ordered to:
           (1) immediately cease its review of the specific Potentially Privileged Materials
           at issue; (2) segregate the specific Potentially Privileged Materials at issue; and
           (3) take appropriate steps to safeguard the specific Potentially Privileged
           Materials at issue.

     9.    Nothing in this addendum shall be construed to require law enforcement to cease
           or suspend the Review Team’s review of the computers or devices upon
           discovery of the existence of Potentially Privileged Materials on one or more of
           the computers or devices.
